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UNITED STATES DIS'I`RICT COURT ` '

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! DATE FILED: wl J§oUTHERN DISTRICT oF NEW YoRK
MICHELLE cLiNE, er ai., lndex N@.; 14 civ. 4744 (LAK)
Plaintiffs,
V' NOTICE oF MoTIoN FoR
ToUCHTUNEs MUsIC CoRPoRATIoN, ATTORNEYS’ FEES,
REIMBURSEMENT 0F
Defendanr. EXPENSES, AND PLAINTFF’s
lNCENTlvE AWARD

 

 

PLEASE 'I`AKE NOTICE that upon the accompanying Menioranduln of LaW in
Support of her Motion for Attorneys’ Fees, EXpenses, and Plaintiff’ s Incentive AWard, the
Declaration of Jeffrey M. Norton, and all pleadings and proceedings herein, Plaintiff, by the
undersigned, Will move this Court, before the Honoi'able LeWis A. Kaplan, at the United States
Courthouse, 500 Pearl Street, New Yoi‘k, NeW York 1000'7, on May 2, 2018 at 3:30 pm in

Courtroorn ZIB, for an order approving the an award of attorneys’ fees, expenses, and Plaintiff’$

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incentive award.

  

LEWIS'A. KAPL’AN§ USTDJ f
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